               Case 3:15-cr-00319-RS Document 134 Filed 05/02/16 Page 1 of 2



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12                                   UNITED STATES DISTRICT COURT

13                                 NORTHERN DISTRICT OF CALIFORNIA

14                                        SAN FRANCISCO DIVISION

15   UNITED STATES OF AMERICA,                        )    CASE NO. CR 15-0319 RS
                                                      )
16           Plaintiff,                               )    [PROPOSED] FINAL ORDER OF
                                                      )    FORFEITURE
17      v.                                            )
                                                      )
18   CARL MARK FORCE IV,                              )
                                                      )
19           Defendant.                               )
                                                      )
20

21           On July 09, 2015, the Court entered a Preliminary Order of Forfeiture forfeiting the following

22 property:

23           a. $13,045 in United States Currency held in BTC-e account;

24           b. $2,768.04 of the $44,082.65 in ScotTrade Account XXXX6437;

25           c. $158,865.00 traceable from federal income tax refund in lieu of forfeiture of Carl Mark
                Force’s interest in real property located at 6722 Glenkirk Road, Baltimore, MD;
26
             d. $17,759.06 held in the name of Engedi, LLC, controlled and owned by Carl Mark Force, in
27              Bank of America Account XXXXXXXX6394; and
28 //

     [PROPOSED] FINAL ORDER OF FORFEITURE
      CR 15-0319 RS                                  1
              Case 3:15-cr-00319-RS Document 134 Filed 05/02/16 Page 2 of 2



 1          e. a Money Judgment in the amount of $500,000,

 2 pursuant to Title 18, United States Code, Section 981(a)(1)(c); Title 18, United States Code, Section

 3 982(a)(1)(A), and Title 28, United States Code, Section 2461(c).
            The United States represents that it has complied with the publication notice requirements of the
 4
   Preliminary Order and that no petitions have been filed.
 5
            THEREFORE IT IS HEREBY ORDERED that the above-described property shall be
 6
   forfeited to the United States, pursuant to Title 18, United States Code, Section 981(a)(1)(c); Title 18,
 7
   United States Code, Section 982(a)(1)(A), and Title 28, United States Code, Section 2461(c). All right,
 8
   title, and interest in said property is vested in the United States of America. The appropriate federal
 9
   agency shall dispose of the forfeited property according to law.
10

11
     Dated: 5/2/16                                       _______________________________
12
                                                         RICHARD SEEBORG
13                                                       United States District Judge

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     [PROPOSED] FINAL ORDER OF FORFEITURE
      CR 15-0319 RS                                  2
